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 8                                UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
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11    CHARLENE STITH,                          Case No.: 1:23-cv-00947-NODJ-GSA

12                   Plaintiff,                ORDER RELATING AND REASSIGNING
                                               CASES
13          v.
14    STATE OF CALIFORNIA, et al.,
15                   Defendants.
16
      VICTORIA GREEN,                          Old Case No.: 1:23-cv-00973-JLT-EPG
17                                             New Case No. 1:23-cv-00973-NODJ-GSA
                     Plaintiff,
18
            v.
19
      STATE OF CALIFORNIA, et al.,
20
                     Defendants.
21
      TREMAINE CARROLL,                        Case No.: 1:23-cv-00974-NODJ-GSA
22                                             (Unchanged)
                     Plaintiff,
23
            v.
24
      STATE OF CALIFORNIA, et al.,
25
                     Defendants.
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     Case 1:23-cv-00947-NODJ-GSA Document 20 Filed 12/12/23 Page 2 of 3


 1    JONATHAN ROBERTSON,                           Old Case No.: 1:23-cv-00975-NODJ-SAB
                                                    New Case No. 1:23-cv-00975-NODJ-GSA
 2                      Plaintiff,
 3           v.
 4    STATE OF CALIFORNIA, et al.,
 5                      Defendants.
 6    FANCY MOORE LIPSEY,                           Old Case No.: 1:23-cv-00976-NODJ-SAB
                                                    New Case No. 1:23-cv-00976-NODJ-GSA
 7                      Plaintiff,
 8           v.
 9    STATE OF CALIFORNIA, et al.,
10                      Defendants.
11                                                  Old Case No.: 1:23-cv-00977-JLT-BAM
      RAYSHAWN HART,
                                                    New Case No. 1:23-cv-00977-NODJ-GSA
12
                        Plaintiff,
13
             v.
14
      STATE OF CALIFORNIA, et al.,
15
                        Defendants.
16
      CRYSTAL GRAHAM,                               Old Case No.: 1:23-cv-01323-JLT-BAM
17                                                  New Case No. 1:23-cv-01323-NODJ-GSA
                        Plaintiff,
18
             v.
19
      STATE OF CALIFORNIA, et al.,
20
                        Defendants.
21
      ROXANNE PURDAGONE,                            Old Case No.: 1:23-cv-01324-NODJ-SKO
22                                                  New Case No. 1:23-cv-01324-NODJ-GSA
                        Plaintiff,
23
             v.
24
      STATE OF CALIFORNIA, et al.,
25
                        Defendants.
26

27          Pursuant to Local Rule 123, the Court finds the above-captioned actions are related. A

28   review of the complaints in these cases shows they are related within the meaning of Local Rule
                                                      2
     Case 1:23-cv-00947-NODJ-GSA Document 20 Filed 12/12/23 Page 3 of 3


 1   123(a), as they involve overlapping or similar parties and claims, related questions of fact or law,
 2   and would likely entail substantial duplication of labor if heard by different judges. Accordingly,
 3   assignment of the actions to the same district judge and magistrate judge will promote
 4   convenience, efficiency, and economy for the Court and the parties. An order relating cases
 5   under this Court’s Local Rule 123 merely assigns them to the same district judge and magistrate
 6   judge and does not consolidate the cases. Under Rule 123, related cases are generally assigned to
 7   the judge and magistrate judge to whom the first filed action was assigned. Local Rule 123(c)
 8   provides that “the Chief Judge or a Judge designated by the Chief Judge may, by special order,
 9   reassign either action to any Judge or Magistrate Judge sitting in the Eastern District of California
10   as the situation may dictate.”
11          Good cause appearing, this Court finds the above-captioned cases are related and
12   ORDERS that the following actions be reassigned to No District Judge and United States
13   Magistrate Judge Gary S. Austin. Going forward, all documents filed shall bear the following new
14   case numbers:
15          Green v. State of California, et al., Case No. 23-cv-00973-NODJ-GSA
16          Robertson v. State of California, et al., Case No. 23-cv-00975-NODJ-GSA
17          Lipsey v. State of California, et al., Case No. 23-cv-00976-NODJ-GSA
18          Hart v. State of California, et al., Case No. 23-cv-00977-NODJ-GSA
19          Graham v. State of California, et al., Case No. 23-cv-01323-NODJ-GSA
20          Purdagone v. State of California, et al., Case No. 23-cv-01324-NODJ-GSA
21            It is further ORDERED that the Clerk of the Court make appropriate adjustment in the
22   assignment of civil cases to compensate for this reassignment.
23          IT IS SO ORDERED.
24   DATED: December 11, 2023.
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